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                  EXHIBIT 14
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

UNITED STATES OF AMERICA                            :         14 Cr. 68 (KBF)

                 - against -                        :
                                                              DECLARATION
ROSS ULBRICHT,                                      :         OF MEGHAN RALSTON

                                    Defendant.        :
------------------------------------------------------X


MEGHAN RALSTON, pursuant to 28 U.S.C. §1746, hereby affirms under penalty of perjury:

    1. I am the former harm reduction manager for the Drug Policy Alliance (hereinafter

 “DPA”), based in Los Angeles, California. I was employed full-time with DPA from October

 2006 through May 15, 2015. My work included implementing over-the-counter pharmacy

 syringe sales throughout Los Angeles County; organizing the first major U.S. commemoration

 of International Overdose Awareness Day; and creating the first-ever Southern California Harm

 Reduction Summit. I have served as the point person on two DPA California harm reduction

 bills which were successfully signed into law (AB 1535; AB 472). I have also served as co-

 chair of both the Los Angeles Overdose Prevention Task Force and the Los Angeles Harm

 Reduction Collaborative. I currently work as a freelance policy consultant for Drug Policy

 Alliance. In 2015, I will be focusing on implementing California pharmacy access to the

 overdose reversal medicine naloxone.

    2. In light of my expertise in the areas of the U.S. overdose crisis; prescription drugs; drug

 use; harm reduction issues and U.S. drug policy generally, my op-eds, quotes and interviews

 about effective ways to reduce the harms of U.S. drug policies, including the misuse of

 pharmaceutical and non-pharmaceutical drugs, have appeared in dozens of news outlets
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including AP, Reuters, the UK Daily Mail, the Los Angeles Times, USA Today, Newsweek, the

San Francisco Chronicle, the Orange County Register, Newsday, the Houston Chronicle, the

Huffington Post and on Time.com. My television appearances on the same subjects include Al

Jazeera, RT America, HuffPost Live and Fox. I have been interviewed and featured in the New

York Times best-selling book “Chasing the Scream” by Johann Hari as a leading expert on the

prescription drug crisis. I have also appeared in the documentary film, "After EDC," which

chronicles the aftermath of a suspected ecstasy-related death at a rave in Los Angeles.

Additionally, I have presented on a variety of harm reduction topics at numerous conferences

across the country and internationally.

  3. I graduated summa cum laude from Capital University in Columbus, Ohio, and my

research on relationship management has appeared in a variety of academic publications. Prior

to joining DPA, I created and ran Street Medicine, a volunteer-driven project to assemble and

distribute first aid kits to homeless populations throughout Los Angeles County.

  4. As a result of my work with the DPA, and in the areas of harm reduction and reduction of

drug-related violence, I have become familiar with the Silk Road website. I have studied the site

and have also published opinion editorials on the topic of Silk Road, in particular, including:

       The End of the Silk Road: Will Shutting Down the ‘e-Bay for Drugs’ Cause More Harm

       Than Good? October 3, 2013 http://www.huffingtonpost.com/meghan-ralston/silk-road-

       shut-down_b_4038280.html, attached as Exhibit 9 to the Declaration of Lindsay A.

       Lewis, Esq.; and,

       Silk Road Was a Better, Safer Way to Buy and Sell Drugs February 12, 2015

       http://www.alternet.org/drugs/silk-road-better-safer-way-buy-sell-drugs, attached as

       Exhibit 10 to the Declaration of Lindsay A. Lewis, Esq.
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   5. Accordingly, through my analysis of the Silk Road website, and my work with the DPA

in the area of harm reduction, and as set forth in the above-mentioned pieces, I have reached the

following conclusions – all of which represent my personal beliefs; none of which necessarily

represent the views or official positions of my employer, the DPA:

   a. at the outset, we must acknowledge the current state of drug use and the drug trade in the

       United States and abroad. People use drugs. They get those drugs from someone else. In

       order to consume drugs, someone had to buy them, and someone had to sell them. Well-

       established research has also demonstrated links between violence and the illicit drug

       trade, in a variety of settings, including urban settings. We don’t have to like it, but we do

       have to accept the reality of it;

   b. our entire approach to responding to that reality has thus far been a dismal

       disappointment. Silk Road was, in the most basic sense, a product of our failed war on

       drugs—a response to our woefully inadequate way of managing not only drug use, but

       also drug demand and drug sales;

   c. operating as an above-ground source for a variety of drugs, ranging from marijuana to

       heroin and virtually everything in between, Silk Road created a safe environment, free of

       weapons and violence during the transaction, where people could acquire drugs. Many

       reformers, myself included, have long been highlighting the forward-thinking benefits of

       Silk Road and the ways it began to slowly revolutionize drug sales around the world. For

       instance, it provided a platform that could allow indigenous growers and cultivators

       around the world to sell directly to the consumer, potentially reducing cartel participation

       and violence;


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   d. accordingly, using Silk Road could be seen as a more responsible approach to drug sales,

       a peaceable alterative to the often deadly violence so commonly associated with the

       global drug war, and street drug transactions, in particular. None of the transactions on

       Silk Road, for instance, resulted in women drug buyers being sexually assaulted or forced

       to trade sex for drugs, as remains a possibility in some street-level drug transactions. Nor

       did any Silk Road transactions result in anyone having a gun pulled on them at the

       moment of purchase, also a danger present in face-to-face street-level drug transactions;

   e. moreover, even with all the hurdles and the risks, people chose to use Silk Road rather

       than rely exclusively on whatever illegal and potentially dangerous drug market existed

       in their 'real world' community. Given the choice of quickly and easily accessing drugs in

       potentially sketchy or dangerous neighborhoods, or buying them safely on-line but

       having to wait, many users preferred privacy, security and a wait to the alternative;

   f. thus, the shutdown of Silk Road, intended to curtail organized drug use and sales, will not

       accomplish that goal. Silk Road is not the only website of its kind and its displaced users

       will likely either turn to a competitor site or seek out drugs in other ways. This approach

       to fighting the war on drugs has never worked and it's not likely to start working now.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. 28 U.S.C. §1746. Executed May 14, 2015.




                                                                MEGHAN RALSTON


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